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                                   EXHIBIT A

                                 Proposed Order




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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE

    In re:
                                                                     Chapter 11
    WILLIAMS INDUSTRIAL SERVICES
    GROUP INC., et al.,1                                             Case No. 23-10961 (BLS)

                                                                     (Jointly Administered)
              Debtors.
                                                                     Re: Docket No. ____


      ORDER AUTHORIZING THE DEBTORS TO REJECT CERTAIN EXECUTORY
             CONTRACTS EFFECTIVE AS OF THE REJECTION DATE

             Upon the Motion (the “Motion”)2 of the above-captioned debtors and debtors in possession

(collectively, the “Debtors”), for entry of an order (this “Order”) authorizing the Debtors to (i)

reject certain executory contracts set forth on Exhibit 1 to the Order, effective as of the Rejection

Date and (ii) take such actions as may be necessary to implement and effectuate the rejection of the

Contracts; and this Court having jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157

and 1334 and the Amended Standing Order of Reference from the United States District Court for

the District of Delaware, dated February 29, 2012; and this Court being able to issue a final order

consistent with Article III of the United States Constitution; and venue of these Chapter 11 Cases

and the Motion in this district being proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this matter

being a core proceeding pursuant to 28 U.S.C. § 157(b); and this Court having found that proper

and adequate notice of the Motion and the relief requested therein has been provided in accordance



1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor's federal tax identification number, include:
Williams Industrial Services Group Inc. (1378), Williams Industrial Services Group, LLC (2666), Williams Industrial Services,
LLC (0406), Williams Plant Services, LLC (9575), Williams Specialty Services, LLC (9578), WISG Electrical, LLC (6918),
Construction & Maintenance Professionals, LLC (0925), Williams Global Services, Inc. (3708), Steam Enterprises, LLC (9177),
GPEG LLC (5707), Global Power Professional Services, Inc. (2550), WISG Canada Ltd. (B.N. 6518), WISG Nuclear Ltd. (B.N.
3510), and WISG Electrical Ltd. (B.N. 2116). The location of the Debtors' corporate headquarters and service address is: 200
Ashford Center N, Suite 425, Atlanta, GA 30338.
2
  All capitalized terms used but not defined herein shall have the meanings given them in the Motion.

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with the Bankruptcy Rules, and that, except as otherwise ordered herein, no other or further notice

is necessary; and objections (if any) to the Motion having been withdrawn, resolved or overruled

on the merits; and a hearing having been held to consider the relief requested in the Motion and

upon the record of the hearing and all of the proceedings had before this Court; and this Court

having found and determined that the relief sought in the Motion is in the best interests of the

Debtors and their estates; and that the legal and factual bases set forth in the Motion establish just

cause for the relief granted herein; and after due deliberation and sufficient cause appearing

therefor, it is HEREBY ORDERED THAT:

         1.    The Motion is GRANTED as set forth herein.

         2.    Pursuant to section 365 of the Bankruptcy Code and Bankruptcy Rule 6006, each

of the Contracts set forth on Exhibit 1 attached hereto is hereby rejected effective as of the

Rejection Date.

         3.    Each Contract counterparty shall have until the date fixed by this Court in these

Chapter 11 Cases pursuant to Bankruptcy Rule 3003(c)(3) to file any and all claims for damages

arising from the Debtors’ rejection of the Contracts.

         4.    The Debtors are authorized and empowered to execute and deliver such documents,

and to take and perform all actions necessary to implement and effectuate the relief granted in this

Order.

         5.    Nothing in this Order shall impair, prejudice, waive or otherwise affect any rights

of the Debtors and their estates to assert that any claims for damages arising from the Debtors’

rejection of the Contracts is limited to any remedies available under any applicable termination

provisions of such rejected Contracts, or that any such claims are obligations of a third party, and

not those of the Debtors or their estates.



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         6.    All rights and defenses of the Debtors and any Contract counterparty are preserved,

including all rights and defenses of the Debtors with respect to a claim for damages arising as a

result of a Contract rejection, including any right to assert an offset, recoupment, counterclaim,

or deduction. In addition, nothing in this Order or the Motion shall limit the Debtors’ ability to

subsequently assert that any particular Contract is terminated, expired, or otherwise no longer an

executory contract.

         7.    The Debtors and their estates do not waive any claims that they may have against

any Contract counterparty, whether or not such claims arise under, are related to, or are

independent of the Contracts.

         8.    Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity, priority or

amount of any particular claim against a Debtor entity; (b) a promise or requirement to pay any

particular claim or (c) a request or authorization to assume any agreement, contract or lease

pursuant to section 365 of the Bankruptcy Code.

         9.    The requirements in Bankruptcy Rule 6006 are satisfied.

         10.   This Court shall retain jurisdiction with respect to any matters, claims, rights or

disputes arising from or related to the Motion or the implementation of this Order.




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                                           Exhibit 1

                                           Contracts


     Non-Debtor            Debtor             Non-Debtor                 Description of
  # Counterparty        Counterparty      Counterparty Address             Agreement
   1 Bridgestone          Williams        19720 Kuykendahl Rd,       Construction of Water
      Municipal           Industrial        Spring, TX 77379              Plant No. 4 for
       District         Services, LLC                                Bridgestone Municipal
                                                                     Utility District – Harris
                                                                           County, TX
   2    City of Green     Williams           321 Walnut Street
                                                                     DEP SRF Harbor Road
        Cove Springs      Industrial      Green Cove Springs, FL
                                                                     WRF Expansion, Ph. 2
                        Services, LLC             32043
   3     Jacksonville     Williams          21 W. Church Street        4211 Spring Park Rd
           Electric       Industrial      Jacksonville, FL 32202    Pump Station Rehab and
          Authority     Services, LLC                                        Upgrade
   4     Jacksonville     Williams          21 W. Church Street      Twin Creeks Reclaimed
           Electric       Industrial      Jacksonville, FL 32202     Water Re-Pump Station
          Authority     Services, LLC                               Improvements – Phase II
   5     Jacksonville     Williams          21 W. Church Street      Consolidated Rivertown
           Electric       Industrial      Jacksonville, FL 32202      Water Treatment Plant
          Authority     Services, LLC                               Project Package Services
   6     Jacksonville     Williams          21 W. Church Street     Construction Services for
           Electric       Industrial      Jacksonville, FL 32202    the Arlington East Water
          Authority     Services, LLC                                  Reclamation Facility
                                                                     (WRF) Secondary MCC
                                                                       Replacement Project
   7     Jacksonville     Williams          21 W. Church Street          Mandarin Water
           Electric       Industrial      Jacksonville, FL 32202       Reclamation Facility
          Authority     Services, LLC                                 (WRF) Sludge Holding
                                                                       Tanks Rehabilitation
   8     Jacksonville     Williams          21 W. Church Street     Construction Services for
           Electric       Industrial      Jacksonville, FL 32202    the Holiday Road Master
          Authority     Services, LLC                                  Pump Station (MPS)
                                                                          Rehabilitation
   9     Jacksonville     Williams          21 W. Church Street        Construction of a new
           Electric       Industrial      Jacksonville, FL 32202     booster station at 10477
          Authority     Services, LLC                                     Bradley Road
  10     Jacksonville     Williams          21 W. Church Street      MSA PO# 210_199928
           Electric       Industrial      Jacksonville, FL 32202         Mandarin Water
          Authority     Services, LLC                                  Reclamation Facility
                                                                      (WRF) High Level UV
                                                                             Upgrade


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     Non-Debtor              Debtor              Non-Debtor                 Description of
  # Counterparty          Counterparty      Counterparty Address              Agreement
  11 Jacksonville           Williams          21 W. Church Street       MSA PO# 210_191834
       Electric             Industrial      Jacksonville, FL 32202       Construction Services
      Authority           Services, LLC                                     District II Water
                                                                          Reclamation Facility
                                                                      (WRF) South Headworks
                                                                                 Rehab
  12     Jacksonville       Williams          21 W. Church Street       MSA PO# 210_198278
           Electric         Industrial      Jacksonville, FL 32202          Monterey Water
          Authority       Services, LLC                                   Reclamation Facility
                                                                        (WRF) Improvements –
                                                                         Phase 1 Construction
                                                                      Services for the Monterey
                                                                      WWTF UV Replacement
  13     Jacksonville       Williams          21 W. Church Street       MSA PO# 210_194883
           Electric         Industrial      Jacksonville, FL 32202       Buckman WRF 1638
          Authority       Services, LLC                                Talleyrand Ave. – Class
                                                                       III/IV valves and screen
                                                                              installation
  14     Jacksonville       Williams          21 W. Church Street       MSA PO# 210_208950
           Electric         Industrial      Jacksonville, FL 32202       Nassau Regional WTP
          Authority       Services, LLC                               Well 1 initial wellhead &
                                                                               site work
  15     Jacksonville       Williams          21 W. Church Street       MSA PO# 210_205734
           Electric         Industrial      Jacksonville, FL 32202         District II WRF –
          Authority       Services, LLC                                   providing labor and
                                                                         materials for the basin
                                                                           concrete repairs &
                                                                                coatings
  16     Jacksonville       Williams          21 W. Church Street       MSA PO# 210_210983
           Electric         Industrial      Jacksonville, FL 32202    Supplying labor, materials
          Authority       Services, LLC                                and equipment to replace
                                                                      two 150A circuit breakers
                                                                         with two 250A 480V
                                                                      breakers at Hogans Creek
                                                                                  tower
  17         St. John’s     Williams        500 San Sebastian View    SR 16 WWTF Headworks
              County        Industrial      St. Augustine, FL 32084          & RAS/ WAS
                          Services, LLC                                      Improvements




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